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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

GLAXOSMITHKLINE BIOLOGICALS SA                    )
AND GLAXOSMITHKLINE LLC,                          )
                                                  )   C.A. No.__________________
                Plaintiffs,                       )
                                                  )
v.                                                )         DEMAND FOR JURY TRIAL
                                                  )
PFIZER INC.,                                      )
                                                  )
                Defendant.                        )

                                          COMPLAINT

       Plaintiffs GlaxoSmithKline Biologicals SA (“GSK Biologicals”) and GlaxoSmithKline

LLC (“GSK LLC”) (collectively, “GSK” or “Plaintiffs”) by their attorneys, allege as follows:

                                  NATURE OF THE ACTION

       1.      This is an action for infringement of U.S. Patent Nos. 8,563,002 (the “’002 Patent”),

11,261,239 (the “’239 Patent”), 11,629,181 (the “’181 Patent”), and 11,655,284 (the “’284

Patent”) (collectively, the “GSK Patents”), arising under the patent laws of the United States, Title

35, United States Code 35 U.S.C. § 100, et seq. This action arises out of the manufacture,

importation, offer for sale, and sale by defendant Pfizer Inc. (“Pfizer”) of a respiratory syncytial

virus (“RSV”) vaccine infringing one or more claims of the GSK Patents.

       2.      RSV is a contagious virus that can lead to serious respiratory illness, especially in

older adults and some infants and young children.

       3.      On May 3, 2023, the U.S. Food and Drug Administration (“FDA”) approved GSK’s

vaccine for RSV under the trade name AREXVY (“Arexvy”). Arexvy is the first FDA-approved

RSV vaccine, the result of more than 15 years of research and development by GSK scientists. It

is approved for the prevention of lower respiratory tract disease (“LRTD”) caused by RSV in

individuals 60 years of age and older. Based on the groundbreaking science that led to the
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development of Arexvy, GSK has patented its innovative RSV vaccine technology, including the

GSK Patents. GSK anticipates that Arexvy will be available to patients no later than this fall.

       4.      Following approval of GSK’s Arexvy, the FDA also approved Pfizer’s RSV

vaccine for adults 60 years of age and older under the trade name ABRYSVO™ (“Abrysvo”).

Upon information and belief, Pfizer began the project that led to Abrysvo no earlier than 2013, at

least seven years after GSK started its RSV program. On May 31, 2023, Pfizer announced that it

“anticipates supply availability in Q3 2023 ahead of the anticipated RSV season this fall.”1 As of

July 19, 2023, Abrysvo had been administered to at least one patient in California.2

       5.      Upon information and belief, Pfizer’s manufacture, use, offer for sale, sale, and/or

importation of Abrysvo in the United States infringes one or more claims of the GSK Patents.

                                           PARTIES

       6.      Plaintiff GSK Biologicals is a corporation organized and existing under the laws of

Belgium with its principal place of business at Avenue Fleming 20, 1300 Wavre, Belgium. GSK

Biologicals is the human vaccine research, development, and commercialization arm of GSK plc.

GSK Biologicals develops and improves vaccines to cover a range of global diseases, including

shingles, hepatitis, influenza, malaria, and tuberculosis. GSK Biologicals manufactures and

distributes Arexvy.

       7.      GSK Biologicals is the current owner by assignment of numerous United States

patents related to RSV vaccine technology, including the GSK Patents asserted in this action.



1
  Press Release, Pfizer, U.S. FDA Approves ABRYSVO™, Pfizer’s Vaccine for the Prevention of
Respiratory Syncytial Virus (RSV) in Older Adults (May 31, 2023), available at
https://www.pfizer.com/news/press-release/press-release-detail/us-fda-approves-abrysvotm-
pfizers-vaccine-prevention.
2
  See Press Release, GoHealth Urgent Care, RSV Vaccine Administered at Dignity Health-
GoHealth Urgent Care (July 19, 2023), available at https://www.gohealthuc.com/news/gohealth-
urgent-care-dignity-health-rsv-vaccine.

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         8.     Plaintiff GSK LLC is a limited liability corporation organized and existing under

the laws of Delaware, with its principal place of business at 2929 Walnut St., Suite 1700,

Philadelphia, PA 19104. GSK LLC is a global, research-based pharmaceutical company with an

industry-leading vaccine portfolio that protects millions of people from infectious diseases each

year.

         9.     GSK Biologicals has designated GSK LLC as the exclusive distributor of Arexvy

in the United States.

         10.    Defendant Pfizer is a corporation organized and existing under the laws of the state

of Delaware, with its principal place of business at 235 East 42nd Street, New York, New York,

10017.

                                 JURISDICTION AND VENUE

         11.    This action arises under the patent laws of the United States, Title 35 of the United

States Code. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

         12.    This Court has personal jurisdiction over Pfizer because it is a Delaware

corporation.

         13.    Furthermore, upon information and belief, Pfizer has purposely availed itself of the

rights and benefits of the laws of Delaware by engaging in persistent, systematic, and continuous

contacts with Delaware. Among other things, Pfizer is in the business of marketing pharmaceutical

products, which it distributes and sells throughout the United States, including in Delaware. Upon

information and belief, Pfizer’s Abrysvo is or will be available in Delaware ahead of the RSV

season this fall.




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       14.     Venue is proper in this Court under 28 U.S.C. § 1400(b) because Pfizer is a

Delaware corporation.

                                        BACKGROUND

       15.     This dispute involves Pfizer’s infringement of the GSK Patents through the

manufacture, use, offer for sale, sale, and/or importation of Abrysvo in the United States. Among

other things, the GSK Patents describe and claim inventions relating to compositions used in RSV

vaccines, and methods for preparing those compositions. Upon information and belief, Pfizer

knowingly uses GSK’s claimed inventions in Abrysvo without permission.

       16.     RSV is a contagious virus that can lead to serious respiratory illness in individuals

of all age groups. In older adults, RSV is a common cause of lower respiratory tract disease, which

affects the lungs and can cause life-threatening pneumonia and bronchiolitis. Each year, it is

estimated that between 60,000–160,000 older adults in the United States are hospitalized and

6,000–10,000 of them die due to RSV infection.3 RSV can also be dangerous for some infants and

young children. Each year in the United States, an estimated 58,000-80,000 children younger than

5 years old are hospitalized due to RSV infection.4

       A.      FAILURE OF EARLY RSV VACCINES

       17.     Before the approval of GSK’s groundbreaking Arexvy vaccine, there was no safe

or effective RSV vaccine for any population.




3
  Centers for Disease Control and Prevention, RSV in Older Adults and Adults with Chronic
Medical Conditions (last updated July 14, 2023), available at https://www.cdc.gov/rsv/high-
risk/older-adults.html; National Foundation for Infectious Diseases, RSV: The Annual Epidemic
You May Not Know About (But Should) (Nov. 20, 2016), available at https://www.nfid.org/rsv-
the-annual-epidemic-you-may-not-know-about-but-should/.
4
  Centers for Disease Control and Preventions, RSV in Infants and Young Children (last updated
July 21, 2023), available at https://www.cdc.gov/rsv/high-risk/infants-young-children.html.

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         18.   Attempts to vaccinate against RSV date back to the mid-1900s. Beginning in the

1960s, numerous vaccination strategies for RSV were tried and failed. Scientists attempted to

develop safe and effective RSV vaccines using inactivated virus, live-attenuated virus, and

vaccines that target specific proteins in RSV.

         19.   None of these early vaccine attempts resulted in an RSV vaccine with satisfactory

safety and efficacy. Indeed, the vaccination of infants in the 1960s with formalin-inactivated RSV

vaccine led to more serious disease following infection, with an increased likelihood of

hospitalization and two deaths due to an adverse immune response. Other vaccination strategies

likewise presented safety risks or did not produce sufficient immunity.

         B.    DEVELOPMENT OF GSK’S VACCINE AREXVY

         20.   GSK’s Arexvy was approved by the FDA in May 2023. Exhibit 1 (Arexvy label).

It is the first RSV vaccine to be approved anywhere in the world. GSK’s Arexvy is the result of

more than 15 years of research and development by GSK scientists. It also reflects GSK’s

significant financial commitment to the development of a safe and effective RSV vaccine,

including through the acquisition of RSV development programs at ID Biomedical and Novartis.

         21.   RSV infects cells by attaching to epithelial cells in the respiratory tract, then fusing

with those cells and replicating. The surface of the RSV virus has two glycoproteins that control

the attachment and fusion process: glycoprotein G (“RSV G”) helps the virus attach to the

respiratory cell surface, and glycoprotein F (“RSV F”) helps the virus fuse with the respiratory

cells.

         22.   RSV F causes fusion of the virus with the cells in a patient through a process called

irreversible protein refolding. Before the virus attaches to the respiratory cells, RSV F protein

exists on the surface of the virus in a form referred to as a “preF” conformation, or “RSVpreF”.




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After the virus attaches to the cell surface, RSVpreF undergoes an irreversible change in shape to

a form referred to as “postF” conformation, or “RSVpostF”. This change in the shape of RSV F

brings the virus and cell surface together to initiate fusion of the virus and the cell.

        23.     Beginning in the early 2000s, GSK scientists, including one or more of the named

inventors of the GSK Patents, began working on the development of a RSVPreF antigen. Their

focus on the RSVPreF antigen was a significant innovation that departed from prevailing

vaccination strategies that did not distinguish between the RSVPreF and RSVPostF conformation.

GSK scientists realized that previous vaccines using the RSVPostF conformation induced an

immune response only to the RSVPostF conformation, which led to limited or no efficacy.

Beginning in the mid-2000s and continuing into this decade, GSK scientists worked to develop a

RSVPreF antigen that targets the RSVPreF conformation present on the virus before it attaches to

the cell surface. GSK discovered and developed innovative solutions for creating RSVPreF

antigens that eventually led to the basis of the world’s first ever approved RSV vaccine, GSK’s

Arexvy.

        24.     On June 10, 2022, GSK announced the results of the Phase III clinical studies on

its RSV vaccine. These results showed exceptional protection for older adults from the serious

consequences of RSV infection, such as pneumonia, hospitalization, and death.

        25.     On May 3, 2023, the FDA approved GSK’s Arexvy as the world’s first RSV

vaccine. Arexvy is an injection that contains “lyophilized recombinant respiratory syncytial virus

glycoprotein F stabilized in pre-fusion conformation (RSVPreF3) as the antigen component….”

Exhibit 1 (Arexvy label) at 8. Arexvy is indicated for active immunization for the prevention of

lower respiratory tract disease caused by RSV in individuals 60 years of age and older.




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        26.     GSK’s Arexvy is a commercial embodiment of the compositions claimed in at least

the ʼ002 Patent, ʼ239 Patent, and ʼ284 Patent.

        C.      PFIZER’S INFRINGING RSV VACCINE

        27.     Upon information and belief, Pfizer began the project that led to Abrysvo no earlier

than 2013, at least seven years after GSK started its RSV program. Just like Arexvy, Abrysvo is

a vaccine indicated for active immunization for the prevention of lower respiratory tract disease

caused by RSV in individuals 60 years of age and older. Abrysvo is an injection consisting of

“Lyophilized Antigen Component” that contains recombinant RSVPreF proteins. Exhibit 2

(Abrysvo label) at 9.

        28.     Abrysvo for older adults was approved by the FDA for use in the United States on

May 31, 2023. According to the prescribing information for Abrysvo, Pfizer manufactures

Abrysvo in the United States under U.S. License No. 2001. Pfizer distributes Abrysvo through its

division, Pfizer Labs.

        29.     Abrysvo is currently also under FDA review for the prevention of medically

attended lower respiratory tract disease (MA-LRTD) and severe MA-LRTD caused by RSV in

infants from birth up to six months of age by active immunization of pregnant individuals. The

FDA has set a Prescription Drug User Fee Act (“PDUFA”) date in August 2023 for a decision on

that indication.5

        30.     On July 21, 2023, Pfizer also announced that the Committee for Medicinal Products

for Human Use (“CHMP”) of the European Medicines Agency (“EMA”) granted a marketing




5
  Press Release, Pfizer, Pfizer’s ABRYSVO™ Receives Recommendation for Use in Older Adults
from Advisory Committee on Immunization Practices (June 22, 2023), available at
https://www.pfizer.com/news/announcements/pfizers-abrysvotm-receives-recommendation-use-
older-adults-advisory-committee.

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authorization for Abrysvo for both older adults and maternal immunization to help protect infants.

The European Commission (“EC”) will take the CHMP’s recommendation under advisement to

decide whether to approve Abrysvo in all 27 member states of the European Union.6

       31.     Upon information and belief, Pfizer offers Abrysvo for sale to healthcare providers,

retail pharmacies, hospitals, and health centers in the U.S., including in Delaware. On May 31,

2023, Pfizer announced that Abrysvo will be available in the third quarter of 2023. As of July 19,

2023, Abrysvo has been administered to at least one patient.

       32.     Pfizer’s manufacture, use, offer for sale, sale, and/or importation of Abrysvo

infringes one or more claims of the GSK Patents. Upon information and belief, Pfizer knowingly

uses the inventions claimed in the GSK Patents without permission.

                                     THE GSK PATENTS

       A.      U.S. PATENT NO. 8,563,002

       33.     GSK Biologicals is the lawful owner by assignment of the ’002 Patent, which is

entitled “Recombinant RSV Antigens” and was duly and legally issued by the U.S. Patent and

Trademark Office on October 22, 2013. A true and correct copy of the ’002 Patent is attached as

Exhibit 3.

       34.     The claims of the ’002 Patent are valid and enforceable.

       35.     The ‘002 Patent claims, inter alia, RSV antigens with a heterologous trimerization

domain.

       36.     The ‘002 Patent will expire no earlier than October 1, 2029.




6
  Press Release, Pfizer, Pfizer Receives Positive CHMP Opinion for RSV Vaccine Candidate to
Help Protect Infants through Maternal Immunization and Older Adults (July 21, 2023), available
at      https://www.pfizer.com/news/announcements/pfizer-receives-positive-chmp-opinion-rsv-
vaccine-candidate-help-protect-infants.

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       37.     GSK Biologicals, as the owner of the entire right, title, and interest in the ’002

Patent, possesses the right to sue for infringement of the ’002 Patent.

       B.      U.S. PATENT NO. 11,261,239

       38.     GSK Biologicals is the lawful owner by assignment of the ’239 Patent, which is

entitled “RSV F Protein Compositions and Methods for Making Same” and was duly and legally

issued by the U.S. Patent and Trademark Office on March 1, 2022. A true and correct copy of the

’239 Patent is attached as Exhibit 4.

       39.     The claims of the ’239 Patent are valid and enforceable.

       40.     The ʼ239 Patent claims, inter alia, immunogenic RSV F compositions with a T4

foldon domain of SEQ ID No:19.

       41.     The ʼ239 Patent will expire no earlier than November 20, 2030.

       42.     GSK Biologicals, as the owner of the entire right, title and interest in the ’239

Patent, possesses the right to sue for infringement of the ’239 Patent.

       C.      U.S. PATENT NO. 11,629,181

       43.     GSK Biologicals is the lawful owner by assignment of the ’181 Patent, which is

entitled “RSV F Protein Compositions and Methods for Making Same” and was duly and legally

issued by the U.S. Patent and Trademark Office on April 18, 2023. The ’181 Patent is a

continuation of the ’239 Patent. A true and correct copy of the ’181 Patent is attached as Exhibit 5.

       44.     The claims of the ’181 Patent are valid and enforceable.

       45.     The ʼ181 Patent claims, inter alia, immunogenic RSV F compositions with a

trimerizing sequence from T4 fibritin.

       46.     The ʼ181 Patent will expire no earlier than July 15, 2030.




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        47.    GSK Biologicals, as the owner of the entire right, title and interest in the ’181

Patent, possesses the right to sue for infringement of the ’181 Patent.

        D.     U.S. PATENT NO. 11,655,284

        48.    GSK Biologicals is the lawful owner by assignment of the ’284 Patent, which is

entitled “RSV F Protein Compositions and Methods for Making Same” and was duly and legally

issued by the U.S. Patent and Trademark Office on May 23, 2023. A true and correct copy of the

’284 Patent is attached as Exhibit 6.

        49.    The claims of the ’284 Patent are valid and enforceable.

        50.    The ʼ284 Patent claims, inter alia, polypeptides with trimerizing sequences from

T4 fibritin.

        51.    The ʼ284 Patent will expire no earlier than July 15, 2030.

        52.    GSK Biologicals, as the owner of the entire right, title and interest in the ’284

Patent, possesses the right to sue for infringement of the ’284 Patent.

                    PFIZER’S KNOWLEDGE OF THE GSK PATENTS

        53.    Upon information and belief, Pfizer has had knowledge of at least the ’002 Patent

since at least October 2019, when Pfizer filed an opposition in the European Patent Office claiming

that a European counterpart to the ’002 Patent is invalid. In June 2022, Pfizer also filed an action

against GSK in the Royal Courts of Justice in London, claiming that European counterparts to both

the ’002 and ’239 Patents are invalid.

        54.    Additionally, upon information and belief, because Arexvy and Abrysvo are the

only vaccines FDA-approved to immunize older adults against RSV, Pfizer either knew or should

have known that its actions with respect to Abrysvo infringe the GSK Patents.




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     COUNT I -- INFRINGEMENT OF THE ’002 PATENT UNDER 35 U.S.C. § 271

       55.     GSK incorporates each of the preceding paragraphs 1-54 as if fully set forth herein.

       56.     Pfizer has engaged in the commercial manufacture, use, offer for sale, or sale of

Abrysvo in the United States, and/or the importation of Abrysvo into the United States. Pursuant

to 35 U.S.C. § 271, these acts constitute infringement, either literally or under the doctrine of

equivalents, of one or more claims of the ’002 Patent.

       57.     Pfizer infringes the ’002 Patent by making, using, offering to sell, selling, and/or

importing Abrysvo in or into the United States and by actively inducing and contributing to

infringement by others, in violation of 35 U.S.C. § 271 (a)-(c). Specifically, and upon information

and belief, the composition of Abrysvo, and the way it is made, used, and sold as described in the

prescribing information for Abrysvo, does and will infringe every limitation of at least claim 1 of

the ’002 Patent, either literally or under the doctrine of equivalents. Pfizer’s Abrysvo contains a

recombinant RSV antigen which comprises an F2 domain and F1 domain of an RSV F protein

polypeptide with no intervening furin cleavage site. See Exhibit 2 (Abrysvo label) at 9 (“The RSV

preF A and RSV preF B recombinant proteins are expressed in genetically engineered Chinese

Hamster Ovary cell lines….”). According to a paper published by Pfizer scientists, the RSV

antigen in Pfizer’s vaccine also includes a T4 foldon domain positioned C-terminal to the F1

domain, which is a heterologous trimerization domain. See Exhibit 7 (Ye Che et al., Rational

Design of a Highly Immunogenic Prefusion-Stabilized F Glycoprotein Antigen for a Respiratory

Syncytial Virus Vaccine,       Sci. Transl. Med. (Ahead of Print Apr. 6, 2023) (DOI:

10.1126/scitranslmed.ade6422) (“Che”)) at 2 (“We … selected stabilizing mutations for a bivalent

RSV prefusion F vaccine candidate that is now in advanced-stage clinical trials (NCT04424316

and NCT05035212).”); id. (“Suggested amino acid substitutions identified from this analysis were




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introduced into the ectodomain, which was fused at its C terminus to a T4 fibritin foldon

trimerization domain (20).”).

       58.     Pfizer also has induced infringement, and continues to induce infringement, of one

or more claims of the ’002 Patent. Pfizer knowingly and intentionally induces third parties to

infringe the ’002 Patent, including health care providers, by selling or otherwise supplying

Abrysvo with the knowledge and intent that third parties will use Abrysvo to infringe the ’002

Patent. Pfizer knowingly and intentionally provides third parties with instructions on how to

administer Abrysvo in a way that infringes the ’002 Patent. For example, Abrysvo’s package insert

explains how to prepare Abrysvo for administration and encourages medical providers to prescribe

Abrysvo to actively immunize patients for the prevention of LRTD caused by RSV in individuals

60 years of age and older. See generally Exhibit 2 (Abrysvo label).

       59.     Pfizer also has contributed and will contribute to the infringement by third parties

of one or more claims of the ’002 Patent by making, using, offering to sell, selling, and/or

importing Abrysvo in or into the United States, knowing that Abrysvo is especially made or

adapted to infringe the ’002 Patent and knowing that Abrysvo is not a staple of commerce suitable

for non-infringing use.

       60.     Upon information and belief, Pfizer has had actual or constructive knowledge of

the ’002 Patent since at least the approval date of Abrysvo.

       61.     Pfizer knows or should know that its manufacturing, using, selling, offering to sell,

and/or importing of Abrysvo does and will constitute infringement of the ’002 Patent.

       62.     Pfizer’s infringement of the ’002 Patent has been, and continues to be, willful and

deliberate since at least the approval date of Abrysvo because, despite an objectively high




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likelihood that its actions do and will constitute infringement of a valid patent, Pfizer continues to

manufacture, use, sell, offer to sell, and/or import Abrysvo in or into the United States.

       63.       Pfizer has committed and will commit these acts of infringement without license or

authorization.

     COUNT II -- INFRINGEMENT OF THE ’239 PATENT UNDER 35 U.S.C. § 271

       64.       GSK incorporates each of the preceding paragraphs 1-63 as if fully set forth herein.

       65.       Pfizer has engaged in the commercial manufacture, use, offer for sale, or sale of

Abrysvo in the United States, and/or the importation of Abrysvo into the United States. These acts

constitute infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’239 Patent pursuant to 35 U.S.C. § 271.

       66.       Pfizer infringes the ’239 Patent by making, using, offering to sell, selling, and/or

importing Abrysvo in or into the United States and by actively inducing and contributing to

infringement by others, in violation of 35 U.S.C. § 271 (a)-(c). Specifically, and upon information

and belief, the composition of Abrysvo, and the way it is made, used, and sold as described in the

prescribing information for Abrysvo, does and will infringe every limitation of at least claim 1 of

the ’239 Patent, either literally or under the doctrine of equivalents. Pfizer’s Abrysvo is an

immunogenic composition that contains a recombinant RSV antigen, which comprises an RSV F

protein ectodomain. See Exhibit 2 (Abrysvo label) at 9 (“ABRYSVO induces an immune response

against RSV pre F that protects against lower respiratory tract disease caused by RSV.”); id. (“The

RSV preF A and RSV preF B recombinant proteins are expressed in genetically engineered

Chinese Hamster Ovary cell lines….”). On information and belief, the RSV antigen in Pfizer’s

vaccine also includes a T4 foldon domain positioned C-terminal to the F1 domain, which

comprises the amino acid sequence of SEQ ID NO:19, or a sequence equivalent thereto. See

Exhibit 7 (Che) at 2 (“Suggested amino acid substitutions identified from this analysis were


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introduced into the ectodomain, which was fused at its C terminus to a T4 fibritin foldon

trimerization domain (20).”).

       67.       Upon information and belief, Pfizer has had actual or constructive knowledge of

the ’239 Patent since at least the approval date of Abrysvo.

       68.       Pfizer knows or should know that its manufacturing, using, selling, offering to sell,

and/or importing of Abrysvo does and will constitute infringement of the ’239 Patent.

       69.       Pfizer’s infringement of the ’239 Patent has been, and continues to be, willful and

deliberate since at least the approval date of Abrysvo because, despite an objectively high

likelihood that its actions do and will constitute infringement of a valid patent, Pfizer continues to

manufacture, use, sell, offer to sell, and/or import Abrysvo in or into the United States.

       70.       Pfizer has committed and will commit these acts of infringement without license or

authorization.

     COUNT III -- INFRINGEMENT OF THE ’181 PATENT UNDER 35 U.S.C. § 271

       71.       GSK incorporates each of the preceding paragraphs 1-70 as if fully set forth herein.

       72.       Pfizer has engaged in the commercial manufacture, use, offer for sale, or sale of

Abrysvo in the United States, and/or the importation of Abrysvo into the United States. These acts

constitute infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’181 Patent pursuant to 35 U.S.C. § 271.

       73.       Pfizer infringes the ’181 Patent by making, using, offering to sell, selling, and/or

importing Abrysvo in or into the United States and by actively inducing and contributing to

infringement by others, in violation of 35 U.S.C. § 271 (a)-(c). Specifically, and upon information

and belief, the composition of Abrysvo, and the way it is made, used, and sold as described in the

prescribing information for Abrysvo, does and will infringe every limitation of at least claim 1 of




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’181 Patent, either literally or under the doctrine of equivalents.         Pfizer’s Abrysvo is an

immunogenic composition comprised of a recombinant RSV F polypeptide of an RSV A subgroup

and RSV B subgroup. See Exhibit 2 (Abrysvo label) at 9 (“ABRYSVO induces an immune

response against RSV pre-F that protects against lower respiratory tract disease caused by RSV.”);

id. (“The antigen component contains recombinant RSV preF A and RSV preF B.”).                    On

information and belief, the RSV preF A and RSV preF B polypeptides comprise a T4 foldon

domain, which is a trimerizing sequence from bacteriophage T4 fibritin. See Exhibit 7 (Che) at 2

(“Suggested amino acid substitutions identified from this analysis were introduced into the

ectodomain, which was fused at its C terminus to a T4 fibritin foldon trimerization domain (20).”).

On information and belief, the RSV preF A and RSV preF B polypeptides are ectodomain vaccine

antigens that do not comprise a transmembrane region or cytoplasmic tail. Id. at 6 (“[T]he 847

prefusion-stabilizing mutations were introduced onto these strain backbones to produce the 847A

and 847B RSV F ectodomain vaccine antigens, which are co-formulated in the bivalent vaccine

candidate, RSVpreF.”).

       74.     Upon information and belief, Pfizer has had actual or constructive knowledge of

the ’181 Patent since at least the approval date of Abrysvo.

       75.     Pfizer knows or should know that its manufacturing, using, selling, offering to sell,

and/or importing of Abrysvo does and will constitute infringement of the ’181 Patent.

       76.     Pfizer’s infringement of the ’181 Patent has been, and continues to be, willful and

deliberate since at least the approval date of Abrysvo because, despite an objectively high

likelihood that its actions do and will constitute infringement of a valid patent, Pfizer continues to

manufacture, use, sell, offer to sell, and/or import Abrysvo in or into the United States.




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       77.       Pfizer has committed and will commit these acts of infringement without license or

authorization.

     COUNT IV -- INFRINGEMENT OF THE ’284 PATENT UNDER 35 U.S.C. § 271

       78.       GSK incorporates each of the preceding paragraphs 1-77 as if fully set forth herein.

       79.       Pfizer has engaged in the commercial manufacture, use, offer for sale, or sale of

Abrysvo in the United States, and/or the importation of Abrysvo into the United States. These acts

constitute infringement, either literally or under the doctrine of equivalents, of one or more claims

of the ’284 Patent pursuant to 35 U.S.C. § 271.

       80.       Pfizer infringes the ’284 Patent by making, using, offering to sell, selling, and/or

importing Abrysvo in or into the United States and by actively inducing and contributing to

infringement by others, in violation of 35 U.S.C. § 271 (a)-(c). Specifically, and upon information

and belief, the composition of Abrysvo, and the way it is made, used, and sold as described in the

prescribing information for Abrysvo, does and will infringe every limitation of at least claim of

the ’284 Patent, either literally or under the doctrine of equivalents. Pfizer’s Abrysvo contains a

polypeptide, which comprises an RSV F protein ectodomain. See Exhibit 2 (Abrysvo label) at 9

(“The antigen component contains recombinant RSV preF A and RSV preF B.”); Exhibit 7 (Che)

at 2 (“Suggested amino acid substitutions identified from this analysis were introduced into the

ectodomain, which was fused at its C terminus to a T4 fibritin foldon trimerization domain (20).”),

6 (“[T]he 847 prefusion-stabilizing mutations were introduced onto these strain backbones to

produce the 847A and 847B RSV F ectodomain vaccine antigens, which are co-formulated in the

bivalent vaccine candidate, RSVpreF.”). On information and belief, the RSV antigen in Pfizer’s

vaccine also includes a T4 foldon domain, which comprises trimerizing sequence from

bacteriophage T4 fibritin. See id. at 2 (“Suggested amino acid substitutions identified from this




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analysis were introduced into the ectodomain, which was fused at its C terminus to a T4 fibritin

foldon trimerization domain (20).”).

       81.       Upon information and belief, Pfizer has had actual or constructive knowledge of

the ’284 Patent since at least the approval date of Abrysvo.

       82.       Pfizer knows or should know that its manufacturing, using, selling, offering to sell,

and/or importing of Abrysvo does and will constitute infringement of the ’284 Patent.

       83.       Pfizer’s infringement of the ’284 Patent has been, and continues to be, willful and

deliberate since at least the approval date of Abrysvo because, despite an objectively high

likelihood that its actions do and will constitute infringement of a valid patent, Pfizer continues to

manufacture, use, sell, offer to sell, and/or import Abrysvo in or into the United States.

       84.       Pfizer has committed and will commit these acts of infringement without license or

authorization.

                                      PRAYER FOR RELIEF

       WHEREFORE, GSK requests the Court grant the following relief:

       (a)       Judgment that Pfizer’s manufacture, use, offer for sale, sale, and/or importation of

Abrysvo infringes one or more claims of the GSK Patents;

       (b)       Judgment awarding GSK damages or other monetary relief, including, without

limitation, lost profits and/or reasonable royalties resulting from such Pfizer’s infringement of the

GSK Patents, increased to treble the amount found or assessed together with interest pursuant to

35 U.S.C. § 284;

       (c)       Upon a judgment in GSK’s favor, an order permanently enjoining Pfizer, its

affiliates, subsidiaries, and each of its officers, agents, servants and employees, and those acting

in privity or concert with them, from making, using, offering to sell, or selling in the United States,




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or importing into the United States, Abrysvo for use in adults over 60. Notwithstanding their

entitlement to such relief, GSK is not seeking to restrain infringing use of Abrysvo for the

prevention of disease caused by RSV in infants by active immunization of pregnant individuals

and will seek appropriate damages or other monetary relief in lieu of an injunction for such

infringing use.

        (d)       A declaration that this is an exceptional case and an award of attorneys’ fees

pursuant to 35 U.S.C. § 285;

        (e)       An award of GSK’s fees and costs for this litigation; and

        (f)       Such further and other relief as this Court deems just and proper, including but not

limited to any appropriate relief under Title 35.

                                       DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs demand a jury trial

as to all matters triable of right by a jury.


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